                         Case 4:12-cr-00246-DPM Document 651 Filed 11/05/13 Page 1 of 6
A0245B        (Rev. 09/ll) Judgment in a Criminal Case                                                                    FILED
              Sheet I                                                                                             EAsrM~~ 8l~tRRI1 cCTr COURT
                                                                                                                                  -- ARKO"S I   9




                                          UNITED STATES DISTRICT COUR,iAMe~!~ ...
                                                  Eastern District of Arkansas By: ~LERK
                                                                         )                                                              ~fuM
              UNITED STATES OF AMERICA                                   )        JUDGMENT IN A CRIMINAL CASE
                                  v.                                     )
                  Jose Cruz a/k/a Jesus Cruz                             )
                                                                                  Case Number: 4:12-cr-246-DPM-5
                                                                         )
                                                                         )        USM Number: 27233-009
                                                                         )
                                                                         )        James H. Phillips
                                                                                  Defendant's Attorney
THE DEFENDANT:
ij{pleaded guilty to count(s)          one of the Indictment.

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended
21 U.S.C. § 841(b)(1)(A)

and 846                            Conspiracy to distribute and posses with intent to distribute

                                   methamphetamine, a Class A felony.                                       9/15/2012                    1

       The defendant is sentenced as provided in pages 2 through          __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
it"count(s)     22 and 23 of the Indictment              D is     litare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 day:s of any chan_ge of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                             10/31/2013
                                                                          Date oflmposition of Judgment




                                                                             D.P. Marshall Jr.                         U.S. District Judge
                                                                          Name and Title of Judge



                                                                          Date
                           Case 4:12-cr-00246-DPM Document 651 Filed 11/05/13 Page 2 of 6
AO 245B       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                 Judgment- Page   --=2- of      6
DEFENDANT: Jose Cruz a/k/a Jesus Cruz
CASE NUMBER: 4:12-cr-246-DPM-5


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 42 months.




    it The court makes the following recommendations to the Bureau of Prisons:
 Cruz shall participate in non-residential substance abuse treatment program during incarceration. The Court recommends
 designation to FCI Forrest City or FCI Millington, or the nearest BOP facility, to facilitate visitation with family in northeast
 Arkansas.

    it The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D     at                                     D a.m.    D p.m.     on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D     as notified by the United States Marshal.

          D     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                            By -----~~~~~~~~~~~----­
                                                                                           DEPUTY UNITED STATES MARSHAL
                             Case 4:12-cr-00246-DPM Document 651 Filed 11/05/13 Page 3 of 6

AO 245B        (Rev. 09/ll) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                            Judgment-Page        3   of         6
DEFENDANT: Jose Cruz a/k/a Jesus Cruz
CASE NUMBER: 4:12-cr-246-DPM-5
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 two years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
0         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
0         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any J?ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observea in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or P-ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                             Judgment-Page    4     0f
                                                                                                                              6
                                                                                                                         ------'=----
DEFENDANT: Jose Cruz a/kla Jesus Cruz
CASE NUMBER: 4:12-cr-246-DPM-5

                                        SPECIAL CONDITIONS OF SUPERVISION
 S1) If Cruz is deported immediately after incarceration, the only applicable condition is that he shall not return to the United
 States illegally during the period of his supervised release. If he is not deported immediately, or if he returns legally during
 that period, then he must comply with all standard conditions and all special conditions. Cruz must contact the U.S.
 probation office within 72 hours of any legal entry into the country.
AO 2458
                       Case 4:12-cr-00246-DPM Document 651 Filed 11/05/13 Page 5 of 6
          (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                     5_
                                                                                                    Judgment- Page _ _       of         6
DEFENDANT: Jose Cruz a/k/a Jesus Cruz
CASE NUMBER: 4:12-cr-246-DPM-5
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                                                            Restitution
TOTALS            $ 100.00                                           $                                  $



D The determination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{i), all nonfederal victims must be paid
     before the United States is patd.

 Name of Payee                                                            Total Loss*        Restitution Ordered Priority or Percentage




 TOTALS                              $ - - - - - - - -0.00
                                                      --                     $ - - - - - - -0.00
                                                                                            --


 D    Restitution amount ordered pursuant to plea agreement $
                                                                         --------------------
 D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the             D fine     D restitution.
      D the interest requirement for the             D   fme    D restitution is modified as follows:


 * Findings for the total amount oflosses are req_uired under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
 Septemoer 13, 1994, but before April23, 1996.
                         Case 4:12-cr-00246-DPM Document 651 Filed 11/05/13 Page 6 of 6
AO 245B    (Rev. 09/ll) Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                               Judgment- Page    _.>.!6_ of              6
DEFENDANT: Jose Cruz a/k/a Jesus Cruz
CASE NUMBER: 4:12-cr-246-DPM-5

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri{ Lump sum payment of$ _1_0_0_.0_0_ _ __ due immediately, balance due
                 not later than
                                -------------------- , or
                 in accordance      D c, D D, D E,or                            rij F below; or
B     D    Payment to begin immediately (may be combined with                D C,         D D, or      D F below); or
C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     fl{ Special instructions regarding the payment of criminal monetary penalties:
            If Cruz is unable to pay the special assessment immediately, any unpaid balance will be paid during incarceration
            and supervised release. During incarceration, Cruz must pay fifty percent of all funds that are available to him.
            Beginning the first month of supervised release, payments will be ten percent per month of the Cruz's monthly
            gross income.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal mone~ penalties is due during
 imprisonment. All cruninal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
